  Case 4:20-cr-00372-SDJ-CAN
           Case 4:21-mj-00063 *SEALED*
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   United States Courts
 Southern District of Texas
          FILED                IN THE UNITED STATES DISTRICT COURT
    January 13, 2021            FOR THE EASTERN DISTRICT OF TEXAS
Nathan Ochsner, Clerk of Court           SHERMAN DIVISION
                                                             4:21mj0063
        UNITED STATES OF AMERICA                          §           SEALED
                                                          §
        v.                                                §           No. 4:20-CR-
                                                          §           Judg
        MANUEL HENRY PADILLA (1)                          §
                                                          §
                                                          §                        FILED
                                                          §                  U.s. DISTRICT COURT


                                                 INDICTMENT                   DEC 9 - 20M
       THE UNITED STATES GRAND JURY CHARGES:                          by deputy.


                                                   Count One

                                                          Violation: 21 U.S.C. § 846 (Conspiracy
                                                          to Possess with the Intent to Manufacture
                                                          and Distribute Methamphetamine)

               That from sometime in or about August 2020, and continuously thereafter up to

      and including December 9, 2020, in the Eastern District of Texas and elsewhere,

                                              Manuel Henry Padilla




      defendant, did knowingly and intentionally combine, conspire, and agree with each other

      and other persons known and unknown to the United States Grand Jury, to knowingly

      and intentionally possess with the intent to manufacture and distribute 500 grams or more

      of a mixture or substance containing a detectable amount of methamphetamine or 50


      grams or more of methamphetamine (actual), a violation of 21 U.S.C. § 841(a)(1).

              In violation of 21 U.S.C. § 846.



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               NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

            As a result of committing the offense charged in this Indictment, the defendants

    shall forfeit to the United States, pursuant to 21 U.S.C. § 853, all property used to commit

    or facilitate the offenses, proceeds from the offenses, and property derived from proceeds

    obtained directly or indirectly from the offenses, including but not limited to the

    following:

            Any and all such proceeds and/or instrumentalities are subject to forfeiture by the

    government.




                                                      A TRUE BILL



                                                      GRAND JURY FOREPERSON




                                                      Date




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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

     UNITED STATES OF AMERICA §                                    SEALED
                                                     §
     v.                                    §                       No. 4:20-CR-
                                                     §             Judge
     MANUEL HENRY PADILLA (1) §


                                Polio             §

                                            Count One

    Violation: 21 U.S.C. § 846

    Penalty: If 500 grams or more of a mixture or substance containing a detectable
                  amount of methamphetamine or 50 grams or more of methamphetamine
                  (actual) not less than 10 years and not more than life imprisonment, a
                  fine not to exceed $10 million, or both; supervised release of at least five
                   years.


    Special Assessment: $100.00




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